                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.

 EDWARD CONSTANTINESCU,                           No. 4:22-CR-00612-S
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN,
 MITCHELL HENNESSEY,
 DANIEL KNIGHT.


 DEFENDANT EDWARD CONSTANTINESCU’S REPLY IN FURTHER SUPPORT OF
  MOTION TO SUPPRESS EVIDENCE FROM AN ILLEGAL GENERAL SEARCH
   JOINED BY DEFENDANTS PERRY MATLOCK, JOHN RYBARCZYK, GARY
  DEEL, STEFAN HRVATIN, TOM COOPERMAN, AND MITCHELL HENNESSEY

       As laid out in our opening brief, the government’s handling of the Defendants’ private

Twitter and Discord data inappropriately ignored the limitations of the search warrants

authorized by a Court and was unconstitutionally unreasonable. Several courts have made clear

that when the government ignore a warrant’s limitations, the remedy is blanket suppression of

the data obtained. Courts impose this remedy to promote absolute respect for the warrants

themselves and the private data obtained from those warrants.

       In response, the government downplays the severity of its conduct, attempting to recast

its conduct as “technical” violations and to shift the blame to codefendant Hennessey for its

repeated mishandling of the warrant data. In doing so, it advances the extraordinary position that

the government is permitted to wholesale seize and produce private data of a third party that is

outside the scope of a warrant to other codefendants (notwithstanding that the warrant papers did
not assert or authorize such a thing). And, it asks the Court to bless this misconduct, claiming:

no harm, no foul.

        Even more troubling, the government now admits that it did not undertake an appropriate

review of the search warrant data for Brady material and instead relied on search terms to target

only the purportedly culpable portions of the data (almost certainly taken out of context) without

checking to see if data in its possession, custody, and control was exculpatory. The Defendants’

privacy interests have been violated by the government’s deliberate, unconstitutional

mishandling of the data, and it now appears that the government made no attempt to review data

in its possession for Brady material; blanket suppression under these circumstances is

appropriate.

   I.      The government’s finger-pointing at Mr. Hennessey for its warrant violations is
           specious, as evidenced by the government’s continued violations even after Mr.
           Hennessey’s counsel made it very clear that she was not requesting the private,
           unresponsive warrant data.

        First, the government asserts that it violated the limitations set forth in the Warrants

because Mr. Hennessey asked it to. See Gov’t Resp. at 5. The government’s characterization of

its decision to violate the Warrants as a problem of Mr. Hennessey’s making is completely

contradicted by the email correspondence memorializing the request. Mr. Hennessey requested

his own Rule 16 discovery—not all of the Defendants’ private, unresponsive data. Even if the

three government attorneys on this case did not understand what Rule 16 discovery included,

immediately following the government’s initial production of the nonresponsive data, counsel for

Mr. Hennessey emailed the entire group stating unequivocally that she was not seeking this

data—her exact words being: “We did not make this request.” See Ex. R (May 19, 2023 email

from L. Cordova). Notwithstanding the clear message that Mr. Hennessey was not asking the

government to violate the Fourth Amendment, the government continued to make additional



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productions of the nonresponsive materials and did not attempt to claw back the unresponsive,

private data. The Court should disregard outright the government’s suggestion in their brief that

seasoned prosecutors mistakenly believed that any of the Defendants had blessed their improper

actions.

   II.      A defendant cannot authorize the government to violate a codefendant’s Fourth
            Amendment rights.

         The government states that the Defendants should “lodge their complaints” with Mr.

Hennessey for the government’s mishandling of the warrant data and Fourth Amendment

violations because he made a request for his own Rule 16 discovery. Gov’t Resp. at 7.

Elsewhere in its brief, the government states that its seizure and production of the private data it

already determined was not responsive to the Warrants was properly produced to the Defendants

wholesale “so that they may conduct their own review and evaluation.” Id. at 11. The

government characterizes this disregard of the warrant limitations as being done for “discovery

parity” for the Defendants. Id. at 10.

         Contrary to the government’s assertion, none of these actions were authorized by the

Warrants. And the government cites to zero legal authority for the proposition that it does not

have to follow the limitations of a search warrant so long as it violates the warrants in the same

way for all defendants. The government identifies no reason why it was appropriate, much less

necessary, for it to produce nonresponsive warrant data to any of the Defendants in this case. It

is not surprising that the government is unable to cite to any legal authority for this proposition;

the idea that codefendants can—and should—participate in a warrant’s execution is plainly and

obviously not the law. A contrary ruling would completely eviscerate the important Section II

limitations in the Warrants and would create an entirely new rule permitting prosecutors to

ignore the plain language of a warrant whenever they want to, and for no reason.



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       The only cases cited by the government do not support the creation of this new rule.

Instead, they stand for the unremarkable proposition that, during the course of a search, law

enforcement will end up reviewing items that ultimately are not responsive to what they are

permitted to seize. But that does not mean that the government can take those nonresponsive

items from the search premises and produce them to defendants, obviously. Here, the

government knew that private data was not responsive to the Warrants and chose to nonetheless

send that private, unresponsive data to codefendants in violation of the Warrants and without any

other legal authority. The government cites no legal authority for the proposition because it is

not the law. The Fourth Amendment does not authorize the government to act contrary to the

terms of a search warrant’s particularity limitations.

       The government cites to In re Search of Cellular Tel. Towers, 945 F. Supp. 2d 769 (S.D.

Tex. 2013) as a “notabl[e]” difference in that—unlike that case—the magistrate judges here did

not require the government to return or delete nonresponsive records. Gov’t Resp. at 9. The

government’s characterization of this case as notably different seems to suggest that the

government believes it was free to do whatever it pleases with the nonresponsive warrant data

because the Court did not demand that the data be returned or deleted. But the Warrants by their

plain terms make clear that the government only had authority to seize those records that were

responsive to the Attachment B, Section II terms. This Court should not credit the government’s

suggestion that absent a court order further clarifying that it cannot misuse nonresponsive data

for which it has no legal authority to seize and contrary to the limitations set forth in the warrant,

the government is free to mishandle nonresponsive private data and produce it to third parties so

long as they are codefendants in criminal cases. This completely unreasonable suggestion




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demonstrates further that blanket suppression is necessary to deter government mishandling of

nonresponsive electronic data.

   III.      The Fourth Amendment does not permit multiple returns to the proverbial well
             under the authority of an expired warrant.

          The government confuses the issue of its return to the data house with an expired warrant.

The government urges that requiring Providers like Twitter and Discord to produce data within

the 14-day limitation required by the warrant would be “unworkable and illogical,” Gov’t Resp.

at 14, but completely ignores the fact that the government’s warrant papers included the

provision that the Providers must produce the data within 14 days. If the government had no

intention of requiring that “illogical” limitation, it should not have been included in its Warrants.

          The government’s reliance on United States v. Farrad and United States v. Allen—two

out-of-circuit decisions—is misplaced. Farrad rejected a pro se defendant’s argument that a

late-dated business records certification meant that the warrant was not timely executed by the

government; the case did not address the propriety of the government returning back to a

Provider for additional materials with a warrant that had been expired for seven months. 895

F.3d 859, 889 (6th Cir. 2018). Similarly, in Allen, the court declined to suppress evidence where

the execution date contained a typographical error and the Provider responded with data

responsive to the warrant within a month of receiving the warrant; the case, again, did not

address the propriety of the government returning back to a Provider for additional materials

with an expired warrant several months after the Provider had complied and produced data. See

2018 WL 1726349, at *8 (D. Kan. Apr. 10, 2018).

          Here, by contrast, Twitter promptly produced what it thought was responsive to the

Warrants. Far from “promptly,” the government waited seven months to return to the well and

attempt to retrieve more data under the authority of Warrants that were long expired from a



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Provider who believed that it had complied. The government does not—because it cannot—

explain what “unworkable” framework prevented it from seeking a second search warrant based

on articulated probable cause why the government believed there was more data to be had. To

hold otherwise eviscerates the temporal limitations of the Warrants.

         The government cites to United States v. Jarman, 847 F.3d 259 (5th Cir. 2017), for the

proposition that the Fourth Amendment does not impose limits on the duration of a warrant’s

execution. Gov’t Resp. at 9. But the Fifth Circuit actually made clear in Jarman that “[t]he

general touchstone of reasonableness which governs the Fourth Amendment analysis [also]

governs the method of execution of the warrant.” 847 F.3d 259, 266 (5th Cir. 2017) (cleaned

up). Jarman did not address what the government did here. Jarman addressed whether the

government took an unreasonable amount of time in finishing its search of evidence from an

electronic device it had already seized, something that is expressly contemplated and permitted

by Rule 41. Neither Rule 41 nor the Fourth Amendment, by contrast, permits the government to

return to a Provider several months after the Provider believes it has complied with the terms of

the warrant and demand that the Provider turn over more data on the legal authority of a long-

expired warrant. That, along with the other actions mishandling the warrant data, is

unreasonable and violated Defendants’ constitutional rights.

   IV.      The government’s failure to review the search warrant data for Brady material
            further warrants blanket suppression.

         Blanket suppression of the warrant data is also appropriate because it does not appear that

the government undertook a diligent review for Brady material. “In order to comply with Brady,

therefore, ‘the individual prosecutor has a duty to learn of any favorable evidence known to the

others acting on the government's behalf in this case, including the police.’” Strickler v. Greene,

527 U.S. 263, 281 (1999) (quoting Kyles v. Whitley, 514 U.S. 419, 437 (1995)).



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        It appears from the government’s response that the government did not undertake a Brady

review when reviewing the data produced in response to the Warrants. Gov’t Resp. at 3-4. The

government appears to concede that the balance of the materials that it determined were

unresponsive to the Warrants went unreviewed without a determination as to whether they could

constitute Brady material. Id. at 11. Instead, the government relied on search terms to cherry

pick what it believed would be favorable evidence for the prosecution and did not bother to

conduct a diligent search to make sure that it was appropriately complying with its Brady

obligations. Perhaps realizing that it had not conducted an appropriate Brady review for

exculpatory material, it has now dumped private data deemed unresponsive to the Warrants onto

the Defendants. This, too, is unreasonable and violates the Defendants’ due process rights. The

government’s failure to conduct a Brady review of the search warrant data further supports

blanket suppression.

   V.      Blanket suppression is the appropriate remedy when government actors
           intentionally disregard a warrant’s limitations and engage in a general search.

        The government requests that the Court ignore the government’s Fourth Amendment

violations and put it in the same position as if it had not deliberately ignored the limitations in the

Warrants. Tellingly, the government also ignores the cases cited in the opening brief with

similar facts where courts found blanket suppression the appropriate remedy under these

circumstances; instead, it incorrectly states that the Defendants have offered “no legal or factual

basis” for blanket suppression. Gov’t Resp. at 19. In reality, the Defendants’ opening brief cited

the following four cases where courts held that blanket suppression was appropriate:

           •   United States v. Rettig, 589 F.2d 418, 423 (9th Cir. 1978)

           •   United States v. Schlingloff, 901 F. Supp. 2d 1101, 1106 (C.D. Ill. 2012)

           •   United States v. Wey, 256 F. Supp. 3d 355, 410-11 (S.D.N.Y. 2017)


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             •   United States v. Nasher-Alneam, 399 F. Supp. 3d 579, 595 (S.D. W.Va. 2019)

See Mot. to Supp. at 23-24. The government offers no reason why the Court should not follow

these cases; its wholesale failure to acknowledge them is telling.1

        Instead of addressing the cases above, the government claims that United States v.

Kimbrough supports denial of this motion but fails to come to terms with the Fifth Circuit’s

pronouncement in that case: “Blatant disregard by executing officers of the language of a search

warrant can transform an otherwise valid search into a general one and, thus, mandate

suppression of all evidence seized during the search.” 69 F.3d 723, 728 (5th Cir. 1995). Indeed,

the Fifth Circuit declined to apply blanket suppression in Kimbrough not because it found that

such a remedy was inappropriate where the agents had engaged in a general search, but

because—following a hearing on the matter where an agent who participated in the search

testified—the defendant failed to show that the manner in which the search was conducted

violated the terms of the warrant and transformed it into a general search. Id. This reasoning, in

part, was based on the fact that “the record reflect[ed] significant numbers of documents were

left at the scenes after an initial review showed them to be not within the scope of the warrants”

and the defendant could not show that the agents seized anything that they did not believe was

“described in the warrants.” Id. Here, by contrast, per the government’s own admission, it

seized and produced to the Defendants on several occasions data that it knew was unresponsive

to the Warrants.




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  In a footnote, the government cites to Davis v. United States, 564 U.S. 229 (2011) as “significant authority” that
blanket suppression is not the legal remedy for an illegal, general search conducted by law enforcement ignoring the
terms of the search warrant. See Gov. at 19. Davis did not hold such a thing. Instead, Davis held that when police
officers reasonably rely on binding appellate precedent, the exclusionary rule does not apply. Davis did not involve
law enforcement disregarding the terms of a search warrant and seizing data that they knew to be unresponsive to
the warrant. In any event, Kimbrough, which authorizes blanket suppression when the government disregards a
warrant’s limits, has long been binding precedent in this Circuit.


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         The other cases upon which the government relies involve instances where the magistrate

judge erred in issuing a search warrant: that is not the argument here. It is the government’s

actions in disregarding the limitations set forth in the Warrants, not the Warrants themselves,

which transformed the handling of the data into a general search. Under those circumstances,

courts (including the Fifth Circuit in Kimbrough) are clear that blanket suppression is

appropriate.

   VI.      Leon’s good-faith exception to the exclusionary rule does not apply when the
            warrant is disregarded.

         The government lists the often-cited carve-outs to the Leon good-faith exception to the

exclusionary rule, claiming that the Court need not reach whether the government’s conduct

violated the Fourth Amendment. But “‘[g]ood faith is not a magic lamp for [the government] to

rub whenever they find themselves in trouble.’” Wey, 256 F. Supp. 3d at 408 (finding blanket

suppression of electronic evidence appropriate, notwithstanding the issuance of search warrants)

(quoting United States v. Reilly, 76 F.3d 1271, 1280 (2d Cir. 1996)). The government

completely ignores that Leon itself made clear that the good-faith exception does not apply

where, as here, the government disregards the warrant’s limitations.

         The two cases the government cites had nothing to do with allegations that the

government violated the limits of a search warrant while executing the warrant, rendering it a

general search outside of Leon’s good-faith exception. Pawlak was a child pornography case

that addressed the magistrate judge’s authority to issue the warrant and the agent’s reasonable

reliance on the warrant—it did not involve allegations that the government ignored the warrant

while executing it in a way that rendered in a general search. United States v. Pawlak, 935 F.3d

337, 342, 347 (5th Cir. 2019). Beverly also did not involve government actors ignoring a validly

issued warrant when executing the warrant outside the scope of its terms. United States v.



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Beverly, 943 F.3d 225, 233 (5th Cir. 2019). The government does not provide this Court with

any reason to disregard the Supreme Court’s plain language in Leon that the good-faith exception

is unavailable when the government disregards the warrant’s limitations.

                                     *      *        *     *

       Accordingly, the Defendants respectfully request that the Court conduct an evidentiary

hearing or rule that the data obtained by the Warrants be suppressed.

Dated: November 8, 2023

                                                     Respectfully submitted,


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                                 CERTIFICATE OF SERVICE
       I hereby certify that on November 8, 2023, a true and correct copy of the foregoing
document has been electronically served on all counsel of record via the Court’s CM/ECF
system.

                                                     /s/ Jamie H. Solano
                                                    Jamie H. Solano




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